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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

 UMG RECORDINGS, INC., CAPITOL               §
 RECORDS, LLC, WARNER BROS.                  §
 RECORDS INC., SONY MUSIC                    §
 ENTERTAINMENT, ARISTA RECORDS               §
 LLC, ARISTA MUSIC, ATLANTIC                 §
                                             §
 RECORDINGS CORPORATION,
                                             §
 CAPITOL CHRISTIAN MUSIC GROUP,              §
 INC., ELECTRA ENTERTAINMENT                 §
 GROUP INC., FONOVISA, INC.,                 §   Civil Action No. 1:17-cv-00365-LY
 FUELED BY RAMEN LLC, LAFACE                 §
 RECORDS LLC, NONESUCH RECORDS               §
 INC., RHINO ENTERTAINMENT                   §
 COMPANY, ROADRUNNER RECORDS,                §
 INC., ROC-A-FELLA RECORDS, LLC,             §
 TOOTH & NAIL, LLC, and ZOMBA                §
 RECORDING LLC,                              §
                                             §
           Plaintiffs,                       §
                                             §
 vs.                                         §
                                             §
 GRANDE COMMUNICATIONS                       §
 NETWORKS LLC and PATRIOT MEDIA              §
 CONSULTING, LLC.                            §
                                             §
           Defendants.                       §


PLAINTIFFS’ OPPOSED MOTION TO EXTEND DEADLINE TO RESPOND TO
     DEFENDANT GRANDE COMMUNICATIONS NETWORKS LLC’S
               MOTION FOR SUMMARY JUDGMENT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

         Plaintiffs UMG Recordings, Inc., Capitol Records, LLC, Warner Bros. Records

Inc., Sony Music Entertainment, Arista Records LLC, Arista Music, Atlantic Recordings

Corporation, Capitol Christian Music Group, Inc., Electra Entertainment Group Inc.,



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Fonovisa, Inc., Fueled by Ramen LLC, LaFace Records LLC, Nonesuch Records Inc.,

Rhino Entertainment Company, Roadrunner Records, Inc., Roc-A-Fella Records, LLC,

Tooth & Nail, LLC, and Zomba Recording LLC (together, “Plaintiffs”) move the Court

to extend the deadline for them to respond to Defendant Grande Communications

Networks LLC’s Motion for Summary Judgment (by just one week) to September 11,

2018, as follows:

         On August 18, 2018, Defendant Grande Communications Networks LLC

(“Grande”) filed its Motion for Summary Judgment (the “Motion for Summary

Judgment”) [Doc. 140]. Pursuant to Fed. R. Civ. P. 6 and Local Rule CV-7(e)(2), the

response to the Motion for Summary Judgment is due on Tuesday, September 4, 2018.

Plaintiffs need additional time to respond to the Motion for Summary Judgment and ask

the Court to extend their response deadline by only seven (7) days to September 11,

2018. Plaintiffs have not previously requested an extension of time to file a response

brief in opposition to the Motion for Summary Judgment.

         Multiple bases exist for Plaintiffs’ reasonable request. First, the current deadline

falls immediately after Labor Day weekend during which individuals that are essential to

preparing the response brief and supporting affidavit(s) have already scheduled vacations.

In addition, the parties are in the throes of deposition discovery. The parties have agreed

to set two depositions for the week of August 27 and four depositions for the week of

September 4. Preparing for and taking these depositions will take time that otherwise

could be used for preparing a response to the Motion for Summary Judgment. Lastly,

Plaintiffs’ reply brief in support of their Motion for Summary Judgment as to Grande

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Communications Networks LLC’s DMCA Safe Harbor Defense is due on Wednesday,

September 5.

         As set forth in detail in the Certificate of Conference below, this motion is

opposed. When Plaintiffs’ counsel conferred with defense counsel about the requested

relief, Plaintiffs’ counsel offered to similarly extend Grande’s deadline to file a reply in

support of the Motion for Summary Judgment by one week. Grande, however, refused to

agree to Plaintiffs’ request for an extension of time and offer for a reciprocal extension.

         Accordingly, Plaintiffs ask the Court to extend their deadline to respond to the

Motion for Summary Judgment to September 11, 2018. This extension is not being

sought for purposes of delay, but rather so that the issues involved in this case can be

properly briefed to this Court.

                                           Respectfully submitted,

                                           SCOTT DOUGLASS & McCONNICO LLP
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                                           Austin, Texas 78701
                                           (512) 495-6300 Telephone
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                                           By: /s/ Daniel C. Bitting
                                                  Daniel C. Bitting
                                                  State Bar No. 02362480
                                                  dbitting@scottdoug.com

                                          Attorneys for Plaintiffs




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                      CERTIFICATE OF CONFERENCE

       The undersigned certifies that, on August 27, 2018, Plaintiffs’ counsel, Mr. Robert
Gilmore, conferred with Grande’s counsel, Mr. Richard Brophy. Mr. Gilmore requested
a one week extension of time to file Plaintiffs’ Response in Opposition to Defendant
Grande Communications Networks LLC’s Motion for Summary Judgment. With the
request, Mr. Gilmore offered to extend the deadline for Grande to file a reply by one
week, as well. Per Mr. Brophy’s request, Mr. Gilmore summarized the reasons that
Plaintiffs need the extension. Mr. Brophy, on behalf of Grande, instructed Mr. Gilmore
to inform the Court that the requested extension is opposed and Grande will file a
response to the foregoing motion within one business day.


                                         /s/ Daniel C. Bitting
                                         Daniel C. Bitting



                         CERTIFICATE OF SERVICE

     The undersigned certifies that, on August 27, 2018, all counsel of record who are
deemed to have consented to electronic service are being served with a copy of this
document via the Court’s CM/ECF system pursuant to Local Rule CV-5(b)(1).


                                         /s/ Daniel C. Bitting
                                         Daniel C. Bitting




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